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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
----------------------------------------------------------x
                                                          :
In re                                                     :   Chapter 11
                                                          :
ALPHA ENTERTAINMENT LLC,                                  :   Case No. 20-10940 (LSS)
                                                          :
                  Debtor.1                                :
                                                          :   Ref. Docket Nos. 7, 51 and 165
----------------------------------------------------------x

                 NOTICE OF FILING OF PROPOSED BUDGET REGARDING
                     PROPOSED FINAL CASH COLLATERAL ORDER

               PLEASE TAKE NOTICE that, on April 13, 2020, the above-captioned debtor
and debtor in possession (the “Debtor”) filed that certain Motion for Interim and Final Orders,
Pursuant to 11 U.S.C. §§ 105, 362, 363, 364 and 507, (A) Authorizing Post-Petition Financing,
(B) Authorizing Use of Cash Collateral, (C) Scheduling a Final Hearing, and (D) Granting
Related Relief [Docket No. 7] (the “Motion”).

                PLEASE TAKE FURTHER NOTICE that, on April 21, 2020, the Court entered
an order [Docket No. 51] (the “Interim Cash Collateral Order”) approving the Debtor’s use of
cash collateral, as provided in the Interim Cash Collateral Order, and scheduled a hearing, initially
set for May 13, 2020 at 10:00 a.m. (ET) and subsequently rescheduled to May 27, 2020 at 11:00
a.m. (ET) (the “Hearing”), to consider the Motion and the relief requested therein on a final basis.

               PLEASE TAKE FURTHER NOTICE that, on May 26, 2020, the Debtor filed
that certain Notice of Filing of Proposed Final Cash Collateral Order [Docket No. 165] (the
“Proposed Final Cash Collateral Order”). In connection with the Proposed Final Cash Collateral
Order, attached hereto as Exhibit A is the proposed budget (the “Proposed Budget”).

              PLEASE TAKE FURTHER NOTICE that the Debtor intends to seek entry of
the Proposed Final Cash Collateral Order, including approval of the Proposed Budget, at the
Hearing. The Debtor reserves all rights to revise the Proposed Final Cash Collateral Order, as well
as the Proposed Budget, at or prior to the Hearing.



                                           [Signature Page Follows]




1
  The last four digits of the Debtor’s federal tax identification number are 7778. The Debtor’s mailing address is
1266 East Main St., Stamford, CT 06902.
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Dated:   May 26, 2020           YOUNG CONAWAY STARGATT & TAYLOR, LLP
         Wilmington, Delaware
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                                Counsel to the Debtor and Debtor in Possession




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                      Exhibit A
                    Proposed Budget
                                                                        Case 20-10940-LSS                                   Doc 167                     Filed 05/26/20                     Page 4 of 4


ALPHA ENTERTAINMENT, LLC
CASH FLOW ($ in thousands)



                                          Week 1       Week 2      Week 3      Week 4      Week 5      Week 6      Week 7          Week 8      Week 9    Week 10   Week 11   Week 12   Week 13   Week 14   Week 15   Week 16   Week 17                        Total
                                           Actual       Actual      Actual      Actual      Actual     Budget      Budget          Budget      Budget    Budget    Budget    Budget    Budget    Budget    Budget    Budget    Budget                       Forecast
                          Week Starting   4/13/2020    4/20/2020   4/27/2020    5/4/2020   5/11/2020   5/18/2020   5/25/2020        6/1/2020    6/8/2020 6/15/2020 6/22/2020 6/29/2020  7/6/2020 7/13/2020 7/20/2020 7/27/2020  8/3/2020                    4/13/2020
                          Week Ending     4/19/2020    4/26/2020    5/3/2020   5/10/2020   5/17/2020   5/24/2020   5/31/2020        6/7/2020   6/14/2020 6/21/2020 6/28/2020  7/5/2020 7/12/2020 7/19/2020 7/26/2020  8/2/2020  8/9/2020                     8/9/2020

   Receipts                               $    149 $        218 $        20 $        99 $        10 $       325 $       126 $          153 $         53 $        58 $       110 $      223 $       155 $      135 $       -      $      -      $     -      $    1,833

   Disbursements                                   2        821          89         186          96         257         231            350          183         134          11        267         130        177          11          243            71         3,260
   Ticket Refunds                              -            -           -           -           -           -           -              -            -           -           -          -           -          -           -            650           -             650
   Rent                                        -             16           5         207          24           7         166              5           40          16         -          146           5         16         -            146             5           803

 Operating Cash Flow                           147         (619)        (74)       (294)       (110)         61        (271)           (202)       (170)        (92)         99       (190)         20        (58)        (11)       (1,039)         (76)        (2,880)

  Young Conway Stargatt & Taylor, LLP          -            -           -           -           -           -           -               -           219         -           -          -           300        -           -            142          -              661
  Donlin Recano                                -            -           -           -           -           -           -               -            70         -           -          -            33        -           -             33          -              136
  Committee of Unsecured Creditors             -            -           -           -           -           -           -               -           100         -           -          -           100        -           -            -            -              200
  Houlihan Lokey                               -            -           -           -           -           -           -               -           250         -           -          -           -          -           -            -            625            875
  John Brecker                                 -            -            15         -           -           -           -                15         -           -           -           15         -          -           -             15          -               60
  Ordinary Course Professionals                -            -           -           -           -           -            25             -           -           -            25        -           -          -            25          -            -               75
  Trustee Fees                                 -            -           -           -           -           -           -               -           -           -           -          -           150        -           -            150          -              300
 Total Restructuring Disbursements             -            -            15         -           -           -            25              15         639         -            25         15         583        -            25          340          625          2,306

  DIP Proceeds                                 -            -           -           -           -           -           -               -           -           -           -          -                      -           -             -                           -
  Principal Payments                           -            -           -           -           -           -           -               -           -           -           -          -           -          -           -             -                           -
  Other Payments and Fees                      -            -           -           -           -           -           -               -           -           -           -          -           -          -           -             -                           -
 Total Financing                               -            -           -           -           -           -           -               -           -           -           -          -           -          -           -             -            -              -

 Net Cash Flow                            $    147 $       (619) $      (89) $     (294) $     (110) $       61 $      (296) $         (217) $     (809) $      (92) $       74 $     (205) $     (563) $     (58) $      (36) $     (1,378) $     (701)        ($5,186)

 Beginning Cash Balance                   $   5,747 $      5,894 $     5,276 $     5,186 $     4,892 $     4,782 $     4,843 $        4,547 $      4,330 $     3,521 $     3,428 $    3,502 $     3,297 $    2,734 $     2,676 $     2,640 $       1,262        $5,747
 Ending Cash Balance                          5,894        5,276       5,186       4,892       4,782       4,843       4,547          4,330        3,521       3,428       3,502      3,297       2,734      2,676       2,640       1,262           561           561

 Beginning DIP Balance                         -            -           -           -           -           -           -               -           -           -           -          -           -          -           -             -            -              -
  Draw / (Paydown)                             -            -           -           -           -           -           -               -           -           -           -          -           -          -           -             -            -              -
 Ending DIP Balance                       $    -       $    -      $    -      $    -      $    -      $    -      $    -      $        -      $    -      $    -      $    -     $    -      $    -     $    -      $    -      $      -      $     -      $       -




                                                                                                                       ALPHA ENTERTAINMENT CONFIDENTIAL
